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                        UNITED STATES DISTRICT COURT

                          DISTRICT OF SOUTH DAKOTA

                                 WESTERN DIVISION


                                                        5:20-MJ-00165-JLV
UNITED STATES OF AMERICA,


                   Plaintiff,
                                              ORDER FOR TEMPORARY DETENTION
      vs.



CODY WAYNE HOPKINS,


                    Defendant.




      Defendant Cody Wayne Hopkins appeared before the court on Monday, August
10, 2020,for an initial appearance and arraignment on a criminal complaint pending
in this district. The defendant appeared in person and by his counsel, the Assistant
Federal Public Defender. The United States appeared by Assistant United States
Attorney. At the hearing, defense counsel requested a continuance of the detention
hearing pursuant to the Bail Reform Act, 18 U.S.C § 3142(f). Good cause appearing, it
is hereby

       ORDERED that Mr. Hopkins shall be temporarily detained in the custody of the
United States Marshals Service until he appears for his detention hearing on
Wednesday, August 12, 2020, at 1:40 p.m. in Courtroom 2, 515 Ninth Street, Rapid
City, South Dakota.
       DATED this 10th day of August, 2020.
                                        BY THE COURT:



                                         daneta wollmann
                                         United States Magistrate Judge
